                       UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION




 In the Matter of:                              }
                                                }
                                                }
 Primary Providers of Alabama, Inc.             }   Case No. 18-83207-CRJ-11
                                                }
                                                }   Chapter 11
                                                }
                                Debtor(s)       }
                                                }
                                                }

                     ORDER APPROVING MOTION TO CONTINUE

This matter is before the Court on the following:

Motion by BancorpSouth Bank to Continue Hearing on Motion to Prohibit Use of Cash
Collateral.

The Court, having considered the Motion, finds that cause exists to continue the Motion and
related matters.

It is therefore ORDERED, ADJUDGED and DECREED that the Motion by BancorpSouth
Bank to Continue Hearing on Movant’s Motion to Prohibit Use of Cash Collateral is hereby
APPROVED as modified in this Order. The hearing on Movant’s Motion to Prohibit Use of
Cash Collateral, Debtor’s Response and Debtor’s Supplement to its Response to Motion to
Prohibit Use of Cash Collateral will be held on April 1, 2019, at 2:30 PM at the Federal
Building, Cain Street Entrance, 3rd Floor Courtroom, Decatur, AL 35601 and the Debtor’s
Authority to Use Cash Collateral shall continue to the date of the hearing.

Dated this the 19th day of February, 2019.

                                                    /s/ Clifton R. Jessup, Jr.
                                                    Clifton R. Jessup, Jr.
                                                    United States Bankruptcy Judge




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